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 1                           UNITED STATES DISTRICT COURT

 2                                 DISTRICT OF NEVADA
 3

 4     DEREK LARUE,                                Case No. 3:24-cv-00265-ART-CLB

 5                                   Petitioner,    Order Dismissing Petition without
                                                       Prejudice and Closing Case
 6
             v.
 7
       ANGEL CARDENAS,
 8
                                  Respondent.
 9

10          Derek Larue has submitted a pro se 28 U.S.C. § 2241 habeas corpus
11    petition. (ECF No. 1-1.) The application to proceed in forma pauperis is granted.
12    (ECF No. 1.) But on initial review, the Court finds that Larue’s claims appear
13    unexhausted, and that federal abstention is required, so the petition is
14    dismissed without prejudice.
15          It appears that Larue was arrested on a criminal matter before the Sixth
16    Judicial District Court (Humboldt County, Nevada) and was released from
17    custody on his own recognizance (“OR”) on or about July 3, 2023. (See ECF No.
18    1-2.) A notice of violation and incarceration filed May 21, 2024, indicates that
19    Larue was rearrested the day before pursuant to a warrant for failure to
20    appear. (See id.) The notice states that Larue was also booked for violation of
21    the conditions of his OR release.
22          In his petition for federal habeas relief, Larue alleges that he has not
23    received a hearing on the revocation of OR release in violation of his
24    constitutional rights. (ECF No. 1-1.) Because a federal habeas petitioner
25    incarcerated by a state must give state courts a fair opportunity to act on each
26    of his claims before he presents them in a federal habeas petition, federal
27    courts will not consider his petition for habeas relief until he has properly
28    exhausted his available state remedies for all claims raised. See Boyd v.
                                             1
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 1    Thompson, 147 F.3d 1124, 1128 (9th Cir. 1998). A claim remains unexhausted

 2    until the petitioner has given the highest available state court the opportunity

 3    to consider the claim through direct appeal or state collateral-review

 4    proceedings. O’Sullivan v. Boerckel, 526 U.S. 838, 844–45 (1999); Peterson v.

 5    Lampert, 319 F.3d 1153, 1158 (9th Cir. 2003) (en banc). To properly exhaust

 6    state remedies on each claim, the habeas petitioner must “present the state

 7    courts with the same claim he urges upon the federal court.” Picard v. Connor,

 8    404 U.S. 270, 276 (1971).

 9          The federal constitutional implications of a claim, not just issues of state

10    law, must have been raised in the state court to achieve exhaustion. Woods v.

11    Sinclair, 764 F.3d 1109, 1129 (9th Cir. 2014); Castillo v. McFadden, 399 F.3d

12    993, 999 (9th Cir. 2005) (fair presentation requires both the operative facts and

13    federal legal theory upon which a claim is based). A claim is not exhausted

14    unless the petitioner has presented to the state court the same operative facts

15    and legal theory upon which his federal claim is based. Bland v. California

16    Dep’t of Corrections, 20 F.3d 1469, 1473 (9th Cir. 1994).

17          In an attempt to demonstrate that he exhausted his claim, Larue states

18    that there is “nothing to appeal.” (ECF No. 1-1 at 2-3.) But in order to exhaust,

19    he would need to first seek relief in the state courts. The Court takes judicial

20    notice of the fact that Larue was rearrested on May 20, 2024, and, as a

21    practical matter, he cannot have pursued a state pre-trial habeas petition in

22    such a short time. The Court also takes judicial notice of the Nevada appellate

23    courts’ online records, which do not show any appeal from a denial of a state §

24    2241 habeas petition. This alone bars this Court’s consideration of his federal

25    habeas petition.

26          But even if the Court assumed that Larue has exhausted his claims, his

27    petition seeks federal judicial intervention in a pending state criminal

28    proceeding, which is simply not available to him. Cf. e.g., Sherwood v. Tomkins,
                                              2
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 1    716 F.2d 632, 634 (9th Cir. 1983); Carden v. Montana, 626 F.2d 82, 83–85 (9th

 2    Cir. 1980). The comity-based Younger abstention doctrine prevents federal

 3    courts from enjoining pending state court criminal proceedings, even if there is

 4    an allegation of a constitutional violation, unless there is an extraordinary

 5    circumstance that creates a threat of irreparable injury. Younger v. Harris, 401

 6    U.S. 37, 53–54 (1971).

 7          The United States Supreme Court has instructed that “federal-court

 8    abstention is required” when there is “a parallel, pending state criminal

 9    proceeding.” Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 72 (2013) (emphasis

10    added); Gilbertson v. Albright, 381 F.3d 965 (9th Cir. 2004) (federal courts

11    generally abstain from granting any relief that would interfere with pending

12    state judicial proceedings). Injuries are only irreparable if the threat to a

13    petitioner’s federally protected rights cannot be eliminated through his defense

14    of the criminal case. Younger, 401 U.S. at 46.

15          This case does not present extraordinary circumstances. Larue

16    challenges the revocation of his OR release as violating his constitutional

17    rights. (ECF No. 1-1.) Defendants in state criminal proceedings routinely allege

18    that state criminal proceedings violate their constitutional rights, including

19    fundamental rights. Larue’s situation is no different in substance from that of

20    any criminal defendant facing the potential loss of constitutional rights—

21    including the most fundamental right, to liberty—in a pending criminal

22    prosecution. He faces no extraordinary or irreparable injuries, so federal

23    abstention is required. It does not appear that dismissal of this action without

24    prejudice will materially impact the analysis of any issue in a later-filed habeas

25    proceeding or otherwise result in substantial prejudice.

26          It is therefore ordered that the application to proceed in forma pauperis

27    (ECF No. 1) is GRANTED.

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 1          It is further ordered that the Clerk of Court FILE the petition for writ of

 2    habeas corpus. (ECF No. 1-1.)

 3          It is further ordered that the petition is DISMISSED without prejudice.

 4          It is further ordered that the Clerk direct informal electronic service upon

 5    respondents by adding Nevada Attorney General Aaron D. Ford as counsel for

 6    respondents and sending a notice of electronic filing to his office for the petition

 7    and this order. No response is required from respondents other than to

 8    respond to any orders of a reviewing court.

 9          It is further ordered that a certificate of appealability will not issue.

10          It is further ordered that the Clerk enter final judgment dismissing this

11    action and close this case.

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14          DATED THIS 22nd day of July 2024.

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                                             ANNE R. TRAUM
18                                           UNITED STATES DISTRICT JUDGE
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